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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

In re:                                              Chapter 7

FONTAINEBLEAU LAS VEGAS,                            Case No. 09-21481-BKC-AJC
HOLDINGS, LLC, et al.,

      Debtors.                                      (Jointly Administered)
____________________________________/

                      NOTICE OF CHANGE OF ADDRESS OF
                CREDITOR AND AMENDED CERTIFICATE OF SERVICE

         The Debtors, FONTAINEBLEAU LAS VEGAS HOLDINGS, LLC, et al., by and

through their undersigned attorneys, hereby give notice that the undersigned has been informed

of the change of addresses of the following creditors; that notice is being furnished to the new

addresses for the creditors; and that all future notices should be forwarded to said creditors as

follows:

                 Former Address                                   New Address

            Gillette Construction, LLC                    Gillette Construction LLC
           Troy Gillett, Registered Agent            980 American Pacific Drive, Suite 106
            4535 Russell Road, Suite 5                   Henderson, NV 89014-7866
              Las Vegas, NV 89118

                 Air Systems, Inc.                              Air Systems Inc.
            4280 W. Ompkins Avenue                         2160 Alexa Breanne Court
            Las Vegas, NV 89103-5321                       Las Vegas, NV 89117-1955

                 World Tea Expo                                 World Tea Expo
                   George Jage                               3360 Kensbrook Street
         World of Tea Expo 2010 and 2011                   Las Vegas, NV 89121-3726
         5125 W. Oquendo Road, Suite 16
           Las Vegas, NV 8911802838

          Paul Bebble & Associates, Inc.                 Paul Bebble & Associates, Inc.
         2885 Jupiter Park Drive, No. 1900                          22-245
             Jupiter, FL 33458-6046                       5500 Military Trl., Suite 22
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                                                               Jupiter, FL 33458-2871

            Fibrwrap Construction Inc.
                Ms. Melissa Judd                          Fibrwrap Construction Services, Inc.
              4255 E. Airport Drive                            3940 Ruffin Road, Suite C
            Ontario, CA 91761-1565                            San Diego, CA 92123-1844

              Universal Piping Inc.                         Universal Piping Industries LLC
             Ms. Cheryl Chrzanowski                               769 Chicago Road
               12900 Capital Street                             Troy, MI 48083-4223
            Oak Park, MI 48237-3158


       Debtors, through their attorneys, requests that the Clerk correct the mailing matrix by

deleting the former addresses and inserting the new addresses in its place.

Dated: May 5, 2016
                                                     /s/ Susan Health Sharp
                                                    Russell M. Blain (FBN 0236314)
                                                    Susan Heath Sharp (FBN 0716421)
                                                    Stichter, Riedel, Blain & Postler, P.A.
                                                    110 East Madison Street, Suite 200
                                                    Tampa, Florida 33602
                                                    Telephone: (813) 229-0144
                                                    Facsimile: (813) 229-1811
                                                    E-mails: rblain@srbp.com
                                                              ssharp@srbp.com
                                                    Attorneys for Soneet R. Kapila,
                                                    Chapter 7 Trustee




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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the NOTICE OF CHANGE OF

ADDRESS OF CREDITOR AND AMENDED CERTIFICATE OF SERVICE was furnished by

CM/ECF on the 5th day of May, 2016, to:

       Johanna Armengol, Esquire
       Assistant United States Trustee
       OFFICE OF UNITED STATES TRUSTEE
       51 S.W. 1st Avenue, Suite 1204
       Miami, Florida 33130

and true and correct copies of foregoing AMENDED NOTICE OF HEARING (Doc. No. 4963)

were furnished by U.S. MAIL on the 5th day of May, 2016, to:


          Gillette Construction LLC                            Air Systems Inc.
     980 American Pacific Drive, Suite 106                2160 Alexa Breanne Court
         Henderson, NV 89014-7866                         Las Vegas, NV 89117-1955

              World Tea Expo                             Paul Bebble & Associates, Inc.
           3360 Kensbrook Street                                     22-245
         Las Vegas, NV 89121-3726                         5500 Military Trl., Suite 22
                                                           Jupiter, FL 33458-2871


      Fibrwrap Construction Services, Inc.               Universal Piping Industries LLC
           3940 Ruffin Road, Suite C                           769 Chicago Road
          San Diego, CA 92123-1844                           Troy, MI 48083-4223




                                             /s/ Susan Heath Sharp
                                             Susan Heath Sharp
                                             Florida Bar No. 0716421




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